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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

       - - - - - - - - - - - - - - -X
        CVS PHARMACY, INC.,         : 21-CV-00070(WES)
                 Plaintiff,         :
                                    :
                                    :
                                    :
           vs.                      : United States Courthouse
                                    : Providence, Rhode Island
                                    :
                                    :
                                    :
        TIMOTHY M. Brown,           : Thursday, February 25, 2021
                 Defendant.         : Afternoon session
                                    :

       - - - - - - - - - - - - - - -X

                 TRANSCRIPT OF CIVIL CAUSE FOR MOTION HEARING
                    BEFORE THE HONORABLE WILLIAM E. SMITH
                      UNITED STATES DISTRICT COURT JUDGE

                                  A P P E A R A N C E S:

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  1      (VIA VIDEO CONFERENCE)

  2      25 FEBRUARY 2021

  3               THE COURT:      All right.      Welcome everybody.        So

  4      we're going to go on the record now.             This is the

  5      matter of CVS vs. Brown.          And we're here for a hearing

  6      on the motion for a temporary restraining order as well

  7      as, I take it, also on the defendant's motion to

  8      dismiss or transfer venue.          So let's have counsel

  9      identify themselves.

10                MR. CUNNINGHAM:         Good afternoon, your Honor.

11       It's Glenn Cunningham from Shipman & Goodwin on behalf

12       of CVS Pharmacy, Inc., the plaintiff.              I do believe

13       that local counsel, Mr. McNamara, should be joining,

14       but it's okay.       I'll be doing the argument today, your

15       Honor.

16                THE COURT:      Very good.

17                MR. McDOUGALD:       Good afternoon, your Honor.           I'm

18       Shannon McDougald for the defendant, Mr. Brown.                 And I

19       think local counsel is on as well as my colleague,

20       Trent Latta.

21                THE COURT:      Okay.     Very good.     Thank you.

22                Okay.    Well, I do have your papers, and I

23       reviewed much of what you filed.            I can't say I

24       reviewed every single page because I think it went up

25       to about 600 pages when I counted it up.               So I will say
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  1      that I think that it makes the most sense to me at this

  2      stage for me to really hear from you on the personal

  3      jurisdiction issue and the venue issue.              I think

  4      there's a serious question of personal jurisdiction and

  5      venue, particularly personal jurisdiction, that's

  6      raised here.      And I'm also concerned about this

  7      Washington State statute which plays into -- doesn't

  8      play into personal jurisdiction, but it does have a

  9      connection to venue as well as to the merits.                So I

10       want to hear about that.

11                That's a real -- as far as I'm concerned, that's

12       a very new sort of twist to these cases and is not

13       something that we've had a lot of experience with.                  In

14       fact, this looks like a statute that only became

15       effective about a year ago -- a little over a year ago.

16       So I'd really like to focus on that.             And I think that

17       would be most helpful to me.           It's not that I don't

18       want to get into the merits, but, you know, as I look

19       at this, I actually think discussion of the merits may

20       well require an evidentiary hearing because it really

21       comes down to a battle of affidavits.              And it's very

22       hard for me to make a really informed and kind of

23       thorough assessment of what should happen here without

24       having those -- the testimony that's in those

25       affidavits subject to cross-examination so that I can
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  1      really kind of drill down on that.             And that's

  2      obviously a more involved thing.

  3               And if I end up agreeing with the defendant with

  4      respect to personal jurisdiction and venue, it seems to

  5      me that I should make that decision quickly and get the

  6      case transferred to the District of Washington so that

  7      -- because any judge that gets the case out in

  8      Washington State is going to have the same reaction to

  9      the briefing on the merits that I have, and he or she

10       is going to want to have an evidentiary hearing.                 So I

11       think my -- and I'm happy to have you disagree with me

12       about any of this if you wish to, but I think that my

13       time is best spent doing as expeditious of an

14       evaluation of this jurisdictional and venue issue and

15       getting you a decision on that as quickly as I can.

16       And if it's to keep it, then we go into the merits.

17       And if it's to transfer it, it gives that judge a

18       chance to dig into the merits.

19                That's how I'm looking at this material, but I'm

20       happy to take your views about that.             So maybe,

21       Mr. Cunningham, you can go first.

22                MR. CUNNINGHAM:       Thank you very much, your

23       Honor.    And I appreciate you guiding us and giving us

24       some initial thoughts on where to focus, and we'll do

25       that.
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  1               I think, preliminarily, you're absolutely right,

  2      you're hearing two very different stories about the

  3      facts of this case.        And the issue before us today is

  4      the TRO which would, I think, get us to the preliminary

  5      injunction hearing where we can have a full vetting of

  6      the information; we can have live witnesses, we can

  7      cross-examine, so that the Court hears the entire story

  8      and could assess that story.

  9               So from our perspective, your Honor, that's

10       really what we're interested in today is making sure

11       that we have protection from now to whatever the next

12       proceeding is and wherever that is.             And I do think

13       that that proceeding belongs here with your Honor in

14       Rhode Island.      Maybe I'll just start with the

15       Washington statute because, frankly, having reviewed

16       it, I think we can dispense with that very quickly.

17                You know, that Washington statute, as your Honor

18       noted, is very new.        It's somewhat unique and so

19       there's not going to be a whole lot of case law about

20       that.    But we don't think that it applies at all.               And

21       there's a number of reasons for that, your Honor.

22                First, this action is governed by Rhode Island

23       law.    This is a breach-of-contract action.             And of

24       course, the Court sitting in diversity is going to

25       apply the forum state law, Rhode Island, to determine
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  1      the appropriate choice of law.            And the choice-of-law

  2      provisions in Rhode Island, your Honor, are very clear;

  3      the parties are permitted to agree to the law of a

  4      particular jurisdiction.          And that comes directly from

  5      the Rhode Island Supreme Court.            And Rhode Island, just

  6      like most jurisdictions who follow the restatement,

  7      recognize that those choice-of-law provisions are valid

  8      and only under very limiting, rare exceptions, your

  9      Honor, would that best choice-of-law provision not

10       apply.

11                 And none of those exceptions are here.             That

12       would only be under Rhode Island law if the chosen

13       state, Rhode Island, bears no substantial relationship

14       to the parties and there's no other reasonable basis

15       for the parties' choice.          And the Sheer case, the

16       Supreme Court case in Rhode Island, recognized that we

17       get out of that exception very quickly if one or

18       another situation applies; and that is, if one of the

19       parties is domiciled where choice of law has been

20       chosen or the principal place of business of one of the

21       parties is in the state where the jurisdiction has been

22       chosen.

23                 Of course, both of those issues apply here.               CVS

24       is both domiciled in Rhode Island, and they have a

25       principal place of business in Rhode Island.                So just
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  1      under straight Rhode Island choice-of-law provisions,

  2      your Honor, or rules, your Honor, the choice-of-law

  3      provision of Rhode Island, which was selected by the

  4      parties in their agreement, certainly should apply.

  5      And we think that dispenses with the Washington issue

  6      straightaway.

  7               But that said, your Honor, there are other

  8      reasons why I don't think this Washington statute

  9      applies.     And there is an initial question, and I don't

10       know how big of a deal it is but we have to raise it,

11       and that is a question of whether or not Mr. Brown is

12       currently domiciled in the State of Washington or not.

13       In preparing for today, we learned --

14                THE COURT:      Let me just redirect you, and I do

15       want you to get to that point in a minute, but just

16       since you began with the choice-of-law issue, I think

17       we should zero in on that.          And I'm looking at the

18       clause itself which says, "I agree that any claim or

19       dispute I may have against the corporation must be

20       resolved by a court located in the state."               I guess

21       this is more of a jurisdictional -- I guess it's the

22       sentence before that.         "This agreement shall be

23       governed by and construed in accordance with the laws

24       of the State of Rhode Island."            And then it has that

25       following sentence.
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  1               What I'm wondering about is, does this clause

  2      when it's read as a whole, does it apply to an

  3      action -- so is it really about actions by Brown

  4      against CVS?

  5               MR. CUNNINGHAM:         No, I think those are two very

  6      separate issues, your Honor.           As your Honor noted, the

  7      second sentence, that's the venue and personal

  8      jurisdiction sentence.         So jumping ahead to personal

  9      jurisdiction just very briefly, Mr. Brown has agreed

10       that Rhode Island has personal jurisdiction of him, at

11       a minimum, because of that very sentence as you pointed

12       out.

13                But if we look at the first sentence, your

14       Honor, what that is telling us is that the parties have

15       agreed that Rhode Island, Rhode Island law, will govern

16       this agreement.       That's the point, your Honor.           So this

17       Washington statute can't subvert the choice that the

18       parties made to have this agreement, this RCA, governed

19       by Rhode Island law.

20                THE COURT:      Okay.     So keep going.      You were on

21       the issue of where he is living.

22                MR. CUNNINGHAM:         Right, your Honor.      And again,

23       this may or may not be an issue, but certainly we found

24       out on Tuesday that just prior to resigning from CVS, I

25       believe it was on January 26th, and before we filed the
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  1      action, Mr. Brown had sent a notice to the CVS payroll

  2      HR group notifying them of the change of address for

  3      tax purposes and for payroll purposes, and that change

  4      of address was to an address down in Scottsdale,

  5      Arizona.     We did a little checking quickly on publicly

  6      available records.        It turns out that Mr. Brown does

  7      own property in Scottsdale, Arizona, that syncs up with

  8      his change request.

  9               And we also noted that under publicly available

10       records he has apparently put his residence in Seattle,

11       Washington, up for sale, and there is an offer to

12       purchase that residence in Seattle.             So we don't know

13       how long he's there, we don't know how long he's going

14       to be there -- I'm sure Mr. McDougald can enlighten us

15       on that -- but we certainly wanted to bring that to the

16       Court's attention because that may take care of a lot

17       of these issues upfront.

18                Leaving that aside, your Honor, just talking

19       about this Washington statute, even if we were to

20       ignore the parties' choice of law of Rhode Island, the

21       Washington statute is not retroactive.              It does not

22       change the parties' agreement specifically.               It is not

23       retroactive on its face.          And even if it does control

24       this particular case, the agreement doesn't apply by

25       its own terms.
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  1                The Washington statute, your Honor, specifically

  2      excludes from the definition of a noncompete agreement

  3      an agreement that was entered into regarding ownership

  4      of one of the parties, which is precisely what we have

  5      here, your Honor.        I just want to get that language in

  6      front of me so that we can look at it together.

  7                And what the Washington statute says, your

  8      Honor -- this is in a definitional section under

  9      definition number 4 -- it defines noncompetition

 10      covenants, and it specifically says halfway through, "A

 11      noncompetition covenant does not include a covenant

 12      entered into by a person purchasing or selling the

 13      goodwill of a business or otherwise acquiring,

 14      disposing of an ownership interest."

 15                Well, as you know, your Honor, this agreement

 16      was entered into as part of an equity award in CVS.

 17      That was part of an ownership interest in CVS.                By the

 18      express language in the Washington statute, we contend,

 19      your Honor, that the agreement is not covered by the

 20      Washington statute.

 21                Furthermore, even if it is, your Honor, there's

 22      nothing in the statute applied to the facts of the case

 23      that would invalidate the entire restrictive covenant

 24      agreement.      There is a section within the statute that

 25      says when an agreement is void and unenforceable.                 None
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  1      of those provisions apply here so we're outside all of

  2      those sections within the void and unenforceable

  3      agreement.      The only possible provision in here that

  4      would apply is dealing with what's called unenforceable

  5      provisions where it says a provision, not the entire

  6      agreement, but the provision in the noncompetition

  7      covenant, signed by an employee or independent

  8      contractor who is Washington based -- again, that's

  9      still a question -- is void and unenforceable if it

 10      requires the employee to adjudicate a noncompetition

 11      covenant outside of the state.

 12                So when you boil it all down, your Honor, that's

 13      the only provision in this statute that may have any

 14      applicability to our situation.            And that's because of

 15      that venue personal jurisdiction sentence you pointed

 16      out in Section 19 of the agreement that says that if

 17      Mr. Brown has a claim against CVS, he needs to bring

 18      that up in Rhode Island.

 19                THE COURT:     But that's a pretty important

 20      provision.

 21                MR. CUNNINGHAM:       Well, it can be, your Honor.

 22      We'll get to personal jurisdiction and to venue, but

 23      the point is --

 24                THE COURT:     Let's zero in on that part of the

 25      provision.      You know, its plain meaning would suggest
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  1      that the contract is void by virtue of the

  2      choice-of-law provision that you just pointed to,

  3      doesn't it?

  4                MR. CUNNINGHAM:       No, not at all, your Honor.

  5      The statute is very specific that all this statute does

  6      is it voids out that provision.            It specifically says

  7      unenforceable provisions.          It's not the entire

  8      agreement.

  9                THE COURT:     Read it again.

 10                MR. CUNNINGHAM:       Certainly, your Honor.         It

 11      says -- so it's under the heading "Unenforceable

 12      Provisions."       And it says, "A provision in a

 13      noncompetition covenant signed by an employee or

 14      independent contractor who is Washington based is void

 15      and unenforceable; one, if the covenant requires the

 16      employee or independent contractor to adjudicate a

 17      noncompetition covenant outside of the state."                So it

 18      only invalidates, if anything, that second sentence in

 19      Section 19 that says that Mr. Brown would have to bring

 20      a claim against CVS in Rhode Island.

 21                By the way, your Honor, the statute doesn't say

 22      that CVS on its own -- let's just presume, for the sake

 23      of argument, that that second sentence didn't exist in

 24      Section 19.      Nothing in the Washington statute says

 25      that CVS on its own can't commence an action against a
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  1      Washington-based employee in Rhode Island or anywhere

  2      else.     It doesn't prohibit that.         It just says you

  3      can't force the employee to do so.             That's all that's

  4      covered.     That's why I think when we drill into this,

  5      your Honor, it really is an interesting discussion that

  6      doesn't really have an impact on this case.

  7                THE COURT:     Okay.     Well, let me just be clear

  8      that at a minimum you would concede if it does apply,

  9      then it makes the provision in the contract, which we

 10      were just referring to a moment ago, the one

 11      that -- actually, both sentences of the agreement, it

 12      would make both of those sentences unenforceable,

 13      wouldn't it?

 14                MR. CUNNINGHAM:        No, your Honor, I don't agree

 15      with that.      I think it would, at most, only make -- we

 16      would have to strike out, which of course the agreement

 17      allows you to do, we would have to strike out the

 18      second sentence of Section 19.            That's it.     That's it.

 19                And your Honor, I just have to say, I think it's

 20      a very big leap to say that this Washington statute

 21      governs this litigation where the Court is sitting in

 22      diversity, where we have a Rhode Island choice of law

 23      that was relied upon by CVS, where the State of Rhode

 24      Island has substantial public policy interests in being

 25      able to have its citizens enforce laws and bring
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  1      actions within the State of Rhode Island and as we --

  2      our quick research where these issues have come up --

  3      Sixth Circuit has the leading decisions on this -- the

  4      Sixth Circuit has said in sort of analogous situations

  5      -- actually, with California which has a straight ban

  6      on noncompetes, essentially, California can do what it

  7      wants to do, but it can't tell Ohio or other states in

  8      the Sixth Circuit what they're going to do.

  9                And we're faced with that issue here, your

 10      Honor.     At a certain level it creates a conflict.              But

 11      I don't believe that Washington can have a super

 12      national law that's going to tell us in Rhode Island

 13      what we can and can't do, especially when the parties

 14      have agreed that Rhode Island law applies.

 15                THE COURT:     Yes.    Well, I mean, it raises a

 16      peculiar problem.        Now, I apologize, so let's just -- I

 17      want to go back over this and make sure I understand

 18      your reasoning.

 19                So if I were to agree with you that the

 20      provision of Washington law that we're talking about,

 21      that it only applies to provisions and not to make the

 22      entire agreement void, but if I were to agree with

 23      that, but it says it makes a provision unenforceable if

 24      the covenant requires the employee to adjudicate a

 25      noncompetition covenant outside of this state.
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  1                So you're saying the second sentence of the

  2      agreement is the part that would be made unenforceable,

  3      but the choice of law would remain in effect.                That's

  4      your point.

  5                MR. CUNNINGHAM:       That's correct, your Honor.

  6      And just again, because this is such a new statute I

  7      think for everyone, we started with the definitional

  8      section in the statute that by its express terms takes

  9      our situation out of the statute.             That's the

 10      definition of a noncompetition covenant.               Because it

 11      says -- it's specifically excluded from the statute --

 12      is an agreement where it was entered into with regard

 13      to the acquiring or disposing of an ownership interest

 14      in a company.

 15                THE COURT:     I understand your argument there.            I

 16      would have a question about whether that provision

 17      applies to this type of a -- was meant to apply to this

 18      type of a situation.         Again, I suppose that's another

 19      reason why one can say a court in Washington State

 20      ought to be answering that question, not a court in

 21      Rhode Island.       But I understand your argument.

 22                MR. CUNNINGHAM:       Right.    And I suppose CVS's

 23      position, your Honor, would be, we shouldn't have to go

 24      to Washington to resolve a dispute over a Washington

 25      statute when we agreed that Rhode Island law would be
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  1      applying to this agreement.           That was the benefit of

  2      the bargain.       We gave him a substantial amount of

  3      equity; he accepted it.          He knew what he was doing;

  4      he's a sophisticated guy.          And now suddenly, you know,

  5      a statute that comes into play after the agreement was

  6      entered into is now going to have retroactive effect

  7      and send us to Washington?           That's certainly not what

  8      the parties had expected when this agreement was signed

  9      back in 2019.

 10                THE COURT:     Okay.     I think you really ought to

 11      get into the personal jurisdiction question because to

 12      me that's a much more traditional analysis, and I

 13      actually think you've got some issues there.

 14                MR. CUNNINGHAM:        Okay, your Honor.      Thank you.

 15      And I'm happy to talk about that.

 16                You know, of course, our position is the Court

 17      does have personal jurisdiction over the defendant at

 18      this stage of the action where we're not having an

 19      evidentiary hearing that tested the prima facie test

 20      that we're all familiar with.           And the First Circuit

 21      test there, you know, has three sections to exercise

 22      specific personal jurisdiction.

 23                The first, of course, is the relatedness test.

 24      And these claims, your Honor -- I don't think there's

 25      much debate over this -- these claims brought against
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  1      the defendant relate to Mr. Brown's contacts with Rhode

  2      Island.     I mean, they arise directly out of an

  3      agreement that was entered into between Mr. Brown and a

  4      Rhode Island domiciled corporation that has a Rhode

  5      Island principal place of business that gave Mr. Brown

  6      equity in the Rhode Island principal place of business

  7      organization in exchange for the covenants that we now

  8      claim he's breaching.

  9                And in addition, your Honor, there's a Rhode

 10      Island choice-of-law clause and under the Astro-Med

 11      case, the First Circuit decision, that Rhode Island

 12      choice-of-law clause alone is sufficient to satisfy the

 13      relatedness prong of the prima facie test, your Honor.

 14      You know, that's our position with regard to

 15      relatedness.       Of course, the second issue is purposeful

 16      availment.      The test there, essentially, is did the

 17      defendant voluntarily take action that made it

 18      foreseeable he might be required to defend himself in

 19      Rhode Island?       And of course, a physical presence is

 20      not necessary.

 21                I think the answer to that question, your Honor,

 22      was it foreseeable that he would have to adjudicate the

 23      case in Rhode Island, is unequivocally yes.                Again,

 24      Mr. Brown is a sophisticated person who has been

 25      negotiating contracts for decades.             He entered into a
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  1      direct relationship, a direct contract, with CVS, which

  2      is domiciled and has a principal place of business in

  3      Rhode Island.       He did so knowing many months after CVS

  4      had acquired Aetna where the Medicare Advantage program

  5      is housed.

  6                So he knew that CVS owned Aetna at that point.

  7      And he accepted stock in CVS, your Honor, nearly

  8      $100,000 worth of stock in CVS.            On top of that, he was

  9      selected for a leadership training program -- that's

 10      CVS, it's not just Aetna -- where he voluntarily went

 11      to Rhode Island for four days to be trained on that.

 12                And last, but not least, and this may be the

 13      most important point, your Honor, if we go back to that

 14      Section 19, he agreed that if he had a claim against

 15      CVS, he would bring that in Rhode Island.               Any kind of

 16      a claim, not just a noncompete claim.              If he had a wage

 17      and hour claim or some other type of claim, whatever it

 18      may be, he agreed he would bring that in Rhode Island.

 19                That was the bargain that was struck.             He

 20      accepted the stock.         He accepted the consideration.

 21      Therefore, it had to be foreseeable for him that he

 22      might have to litigate a case in Rhode Island, your

 23      Honor.     So again, I don't think there's any question

 24      but that the purposeful availment prong has been met.

 25                And once again, you know, the law in the circuit
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  1      is a choice-of-law clause alone is indicative of the

  2      fact that someone has purposely availed themselves of

  3      jurisdiction in Rhode Island.           And so, your Honor, if

  4      those two prongs are met, that gets us to the five

  5      Gestalt factors.        You know, the defendants -- we look

  6      first at the defendant's burden in appearing.                Again,

  7      the most important part of that is he agreed to the

  8      personal jurisdiction in Rhode Island.

  9                And given certainly all the circumstances that

 10      we all live in these days, I don't think the burden of

 11      appearing in Rhode Island is any different than

 12      appearing in Washington, if that's where he still is.

 13      That issue still needs to be resolved.

 14                Second, and this is, I think, very important,

 15      your Honor, is Rhode Island's interest in adjudicating

 16      this dispute.       CVS is a Rhode Island company.           And CVS

 17      gave its stock, ownership in itself, to Mr. Brown.                  And

 18      it expects Mr. Brown to abide by his commitments.                 And

 19      it has the right, because it negotiated for it, to have

 20      an action adjudicated in its own State of Rhode Island.

 21      Again, CVS is only seeking the benefits of the bargain

 22      that it struck with Mr. Brown.

 23                THE COURT:     Let me interrupt you there because,

 24      again, this gets to -- I mean, we kind of go in circles

 25      here and it's hard to know which question to take up
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  1      first, but let's just assume, just for discussion for a

  2      moment, that I agree with Mr. McDougald that this

  3      Washington law does apply.           Then that creates a kind of

  4      anomalous situation where I would be -- if I were to

  5      accept your arguments, I would be using a provision

  6      that, for purposes of analyzing purposeful availment,

  7      that Washington law says should not be applicable, that

  8      is, the choice-of-law aspect of the agreement.

  9                So it seems to me that I have to answer that

 10      Washington law question.          If I answer it, that it does

 11      apply, if I don't accept your argument that this equity

 12      provision provides an exception to it and I say it does

 13      apply, then it seems to me that the choice-of-law

 14      aspect of the agreement has to be disregarded for

 15      assessing personal availment.           And if that is

 16      disregarded, then what we're left with, and if I'm

 17      hearing your arguments correctly, are essentially the

 18      fact that, you know, he worked for a Rhode Island

 19      corporation, he got paid by this Rhode Island

 20      corporation, he accepted the money from the Rhode

 21      Island corporation, and he came to Rhode Island for a

 22      training session, one trip.           That seems like a pretty

 23      thin read when all of his work -- when the actual work

 24      that he was doing was all in the Pacific Northwest.

 25      The work that he was doing wasn't, you know -- it
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  1      wasn't as if he was focused on the territory of New

  2      England but lived in Seattle or something; it's not a

  3      situation like that.

  4                So I really recognize, you know, why you would

  5      say why the Washington statute doesn't apply and I

  6      should consider the choice-of-law provision, but let's

  7      just say it's out of the picture, then it doesn't look

  8      too good for purposeful availment.

  9                MR. CUNNINGHAM:       Well, your Honor, with all due

 10      respect first, even if the Washington statute would

 11      apply, it does not void out the choice-of-law

 12      provision; it only voids out the personal jurisdiction

 13      venue provision.        So the choice of law, Rhode Island

 14      law, would still apply to the agreement.               The

 15      Washington statute does not --

 16                THE COURT:     I understand that, but you were

 17      arguing that the choice-of-law provision should be

 18      considered for purposes of evaluating personal

 19      jurisdiction.       So not just applying the choice of law,

 20      but that it should be given weight for purposes of

 21      examining personal jurisdiction.            And that strikes me

 22      as perhaps violating the Washington statute.

 23                MR. CUNNINGHAM:       I guess I'll just respectfully

 24      disagree on that, your Honor.           I don't think it

 25      violates the Washington statute at all.              And what I was
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  1      really saying was that the First Circuit recognizes

  2      that the parties' choice of law is indicative of the

  3      fact that someone has purposefully availed themselves

  4      of that state.       That's really the point there.

  5                But, your Honor, it's also much more than that.

  6      We have to go back in time.           The Washington statute

  7      came into effect in 2020.          The question here is

  8      personal jurisdiction and whether it was reasonably

  9      foreseeable that the defendant would have to engage in

 10      litigation in Rhode Island.           And I think we have to

 11      look at that at the time the agreement was entered into

 12      back in 2019 when there was no Washington statute.

 13                If we look at the situation there, you know,

 14      these are the basic facts.           CVS purchased Aetna.        CVS

 15      offered to Mr. Brown -- and he knew CVS had purchased

 16      Aetna; that was no surprise to anyone.              CVS made an

 17      offer to Mr. Brown which is would you -- here is an

 18      equity grant, an ownership interest in a Rhode Island

 19      company as a principal place of business in Rhode

 20      Island, that has a subsidiary called Aetna now that

 21      you'll be performing services for.             Do you want the

 22      equity?     If so, you have to agree to the provisions in

 23      the restrictive covenant agreement which include Rhode

 24      Island choice of law, and it included an agreement that

 25      if he had a claim against CVS -- and by the way, this
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  1      stays in effect regardless of the Washington statute

  2      which only applied to noncompete agreements -- but if

  3      he has, like I said, a wage claim, your Honor, you

  4      would have to bring a wage claim in Rhode Island.

  5                So he knew that.       He agreed to that.        That's

  6      foreseeable that he would be hailed into court in Rhode

  7      Island.     That's why I say I think from purposeful

  8      availment, was it foreseeable that he might be required

  9      to defend himself in Rhode Island?             Of course it was.

 10      And he agreed to that.

 11                The fact that he lives in Washington, his region

 12      was eight states, your Honor.           It was all of the

 13      Pacific Northwest and Mountain Region.              It was eight

 14      states.     He happened to live in Washington, but his

 15      area of coverage was much broader than Washington.                  So

 16      I guess that's a rhetorical question.              Do we have to

 17      sue him in Oregon or Nevada because he had

 18      responsibility for those?

 19                You know, there should be some certainty for

 20      CVS.    That's what they bargained for, that's what they

 21      received, that's what Mr. Brown agreed to.               I think

 22      from a personal jurisdiction standpoint, it's

 23      absolutely foreseeable that he would have to defend

 24      himself in Rhode Island.

 25                THE COURT:     Okay.    Well, thank you,
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  1      Mr. Cunningham.       Let me give Mr. McDougald a shot at

  2      this.

  3                MR. CUNNINGHAM:       Thank you.

  4                MR. McDOUGALD:      Thank you, your Honor.

  5                I have the good news of not going to require a

  6      lot of genuflecting to get to the point.               The

  7      Washington statute is unequivocal.             And we have argued

  8      that, again, employers, if you're employing people in

  9      the State of Washington, this statute applies to you.

 10      All the dancing and arguments you heard from counsel

 11      are made to the legislature.

 12                And again, your Honor, why did this happen?               It

 13      happened because Washington, like many states in

 14      multiple industries, has a lot of employees based in

 15      Washington who have employers who are foreign

 16      corporations, not just foreign states, but also

 17      international.       And the legislature made the decision

 18      that those folks were not going to be required to have

 19      disputes with their employers done in Asia, done in

 20      other states, and any employer who came in had notice

 21      of that.     And the statute is very clear; it said any

 22      claim filed after January 1, 2020, any claim.

 23                There is no question that the statute is there.

 24      There is no question that Mr. Brown is a Washington

 25      resident.      We've had this unusual comment on we think
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  1      he may not be a Washington resident, your Honor.                 In a

  2      word, that's incorrect.          He lives in West Seattle, your

  3      Honor.     When his son was going to Arizona State

  4      University, he bought a condo in Arizona for his son to

  5      live in because it was actually cheaper than putting

  6      him in the dorms.        They've kept it; they use it as a

  7      vacation home.       And when they decided to sell their

  8      West Seattle home, they used that address for their

  9      mailings for a short period.

 10                The reason he's moving from West Seattle, as

 11      your Honor may know, there's one bridge from West

 12      Seattle into downtown Seattle making it a ten-minute

 13      trip.     That bridge was condemned federally two years

 14      ago and won't be rebuilt for about another three years.

 15      Most folks in West Seattle are moving south for cheaper

 16      homes and the fact that they don't want to have to

 17      drive an hour to get off their little peninsula.

 18                This was not Mr. Brown trying to fool the Court.

 19      He's lived in Washington.          One of his oldest children

 20      lives in Washington as well.           His family's here.        He's

 21      always been a Washington resident.             He is not an

 22      Arizona resident.        Period, end of story on that issue.

 23                Personal jurisdiction.         Your Honor, you had

 24      pointed out correctly he made one trip to Rhode Island.

 25      He worked for Aetna, a subsidiary of CVS.               He did not
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  1      purposely avail himself of the benefits of being a

  2      Rhode Island citizen.         Nothing he's done has indicated

  3      he expected and participated and has the kind of

  4      minimum contacts we typically ask for in a circumstance

  5      of personal jurisdiction.

  6                Nothing presented today indicates that venue in

  7      a state where he doesn't live is appropriate in this

  8      case based on the actual evidence, based upon the

  9      statute in Washington and based on their contract.

 10      You'll recall, your Honor, when you were kind enough to

 11      give us a little time early on, we were told venue was

 12      appropriate because of the contract.              Like the Court, I

 13      read the contract.        The contract says at paragraph 19,

 14      if you sue CVS, you'll agree you'll sue them in Rhode

 15      Island.

 16                I know this isn't lost on the Court.             Mr. Brown

 17      is being sued; he has not made a claim against CVS.

 18      And of course, I would argue that even if he wanted to,

 19      that would have to be in Washington.              But again, their

 20      own contract, which they prepared, created venue in

 21      Rhode Island under one circumstance, and that

 22      circumstance, your Honor, doesn't exist here.                And

 23      moreover, it's inconsistent with Washington law.

 24                THE COURT:     So let's just break it down so I

 25      make sure I understand your position.              Your position
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  1      would be that the contract itself requires only

  2      adjudication of the case in Rhode Island if Mr. Brown

  3      was suing the company.         And that provision of the

  4      contract interpreted in that fashion would be

  5      unenforceable, in any event, under this provision of

  6      Washington -- of the new Washington statute because it

  7      explicitly says that any provision that requires

  8      adjudication in a state other than Washington is

  9      unenforceable.

 10                MR. McDOUGALD:      Right.

 11                THE COURT:     Otherwise, plaintiff would say that

 12      none of it even applies because of the equity issue.                  I

 13      want you to get to that.

 14                But if that's all correct, then basically it's

 15      all kind of a wash, and all that's left in the contract

 16      is the first sentence of that provision which says that

 17      the law of Rhode Island would govern.              And I don't hear

 18      you saying that this provision of the Washington

 19      statute would make that provision unenforceable; is

 20      that correct?

 21                MR. McDOUGALD:      Your Honor, I would argue that

 22      that is potentially unenforceable as well.               Because

 23      under the Washington statute, they want courts in

 24      Washington to review the issue under Washington law as

 25      well as the contract.         I have indicated before, I'm not
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  1      confident any portion of this particular agreement will

  2      be enforceable, but I would argue that Washington

  3      statute would say applying a choice of law for a

  4      Washington resident, requiring them to have to accept

  5      Rhode Island law as well as Rhode Island venue in that

  6      contract, would potentially be unenforceable under the

  7      statute.     But I would also argue that that's a review

  8      that would have to be done by a Washington court.

  9                THE COURT:     Okay.    All right.      So if this case

 10      were transferred, it would be a Washington court using

 11      Washington -- this is almost like a law school exam.

 12      Washington choice-of-law principles, then deciding

 13      whether Rhode Island law applies or Washington law

 14      applies to the interpretation of this noncompete.

 15      That's your position?

 16                MR. McDOUGALD:      It is, your Honor.

 17                THE COURT:     Now, what do you say to their

 18      argument that the statute doesn't apply at all because

 19      of the provision that excludes equity purchases?

 20                MR. McDOUGALD:      Yes.    Your Honor, it is a

 21      creative argument, but what that exclusion exception

 22      had to do with was people who were selling businesses

 23      between one another and agreeing to either arbitrate or

 24      litigate outside the state in connection with the sale

 25      of business.
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  1                Remember, this statute came up with respect to

  2      people who were employed by primarily technology

  3      companies who got compensation in part as stock in

  4      equity provisions.        The legislature did not say, by the

  5      way, you can claim this was not in the statute.                 You

  6      can claim that this exception applies to you because

  7      you're fighting over a stock option or restricted

  8      stock.

  9                It simply wasn't part of the statute and that is

 10      not -- if that were the purpose, it would mean that

 11      most of us who would work with a publicly traded or

 12      stock company would always be able to be pulled up by

 13      the state.      That's exactly inconsistent with the

 14      statute.     Again, a creative argument, but inconsistent

 15      with the language of the statute.             And that particular

 16      exception is simply not there.

 17                THE COURT:     Okay.    So circle back then to the

 18      whole personal jurisdictional argument.              You heard what

 19      Mr. Cunningham had to say with respect to the factors

 20      in a particularly purposeful availment.

 21                MR. McDOUGALD:      In this particular case, your

 22      Honor, when we go through the factors, first, we ask

 23      ourselves, what really occurred?            Mr. Brown worked for

 24      Aetna.     Aetna gets acquired after he's employed by CVS.

 25      Aetna isn't trying to enforce an agreement with him or
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  1      trying to pull him to, by the way, where they're

  2      incorporated which is Connecticut.             Their parent

  3      company is arguing that by virtue of accepting his

  4      compensation, he knew he would be dragged and could be

  5      dragged to Rhode Island.          And the only indicia of that

  6      that they argue is their contract, which we've talked

  7      about the provisions.

  8                What about that said he understood the burden?

  9      The answer is nothing.         When we go to the facts of his

 10      compensation, he has two pieces to it; he has his basic

 11      compensation, he has a bonus and incentive plan.                 He

 12      had that with Aetna.         The only difference was when CVS

 13      became the parent, they said you're getting CVS as

 14      opposed to an equity grant because Aetna doesn't exist

 15      anymore; it's now owned by CVS.

 16                Nothing about that transaction told him he was

 17      going to have minimum contacts with Rhode Island, that

 18      he was going to avail himself of the benefits of Rhode

 19      Island, that he would do business in Rhode Island.                    And

 20      your Honor, as you've pointed out, all of his work was

 21      based in Seattle for the Western region.

 22                THE COURT:     Let me press back on you a little

 23      bit on that point because, you know, as Mr. Cunningham

 24      said, I mean, this isn't an unsophisticated person

 25      you're dealing with.         You're talking here about a
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  1      sophisticated business person.            I think we can assume

  2      that he's someone who reads contracts before he signs

  3      them, contracts that he is entering into, so presumably

  4      he read this contract.         The contract states flatly that

  5      you are subject to the laws of Rhode Island and if you

  6      have a dispute with the company, you have to bring it

  7      in Rhode Island.        And he's given his stock option bonus

  8      and told explicitly that if you accept this, you're

  9      accepting the terms of this agreement.

 10                So by doing that, he's doing something very

 11      conscious and very clear that says I understand that

 12      Rhode Island is where I am.           I'm hitching my trailer

 13      here in Rhode Island when he did that.              It's not like

 14      something he might have missed or something that

 15      happened that he didn't think about.              And then you add

 16      on top of that that, you know, he knows it's a Rhode

 17      Island corporation.         He accepts his paychecks from a

 18      Rhode Island corporation.          And then he comes here to do

 19      the training session.         So why isn't that enough?

 20                MR. McDOUGALD:      I would say again, your Honor, I

 21      don't think it meets the standard, but let's assume he

 22      reads it thoroughly not just as a business person, but

 23      as a lawyer.       If you read paragraph 19, it would tell

 24      him, if I bring a claim, I am going to have to bring it

 25      to Rhode Island.        It does not tell him if my employer
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  1      sues me, I'm going to Rhode Island.             So no matter what,

  2      however he read it, he's not saying I'm in Rhode Island

  3      no matter what.       I'm only coming if I want to make a

  4      claim if that is my requirement.            It doesn't tell him

  5      he's subject to being pulled to Rhode Island for any

  6      and all claims against him by CVS or anyone else by

  7      their own contract language.           So he never gets that

  8      notice and never agrees to it.

  9                THE COURT:     I suppose you could say implicit in

 10      the wording there is that -- it says if I sue CVS, I

 11      have to do it in Rhode Island, but, implicitly, I guess

 12      if I get sued by CVS, it could be anywhere.                Rhode

 13      Island --

 14                MR. McDOUGALD:      Where I live, where I work,

 15      right.

 16                THE COURT:     Okay.    But it doesn't explicitly say

 17      it will be in his home court.           It could be either one.

 18                MR. McDOUGALD:      With the exception of, again, in

 19      this particular case, there is no question that CVS

 20      prepared the agreement and, as a result, they were in

 21      the position to know what they wanted.

 22                And I would suggest, your Honor, that that

 23      limitation was not put there for the benefit of

 24      employees; it was put there because CVS recognized you

 25      can't pull everyone here when you want to sue them.                  We
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  1      understand that, but if you want to sue us, we're going

  2      to pull you here.        And that's why we have this very

  3      specific language for a multibillion-dollar company

  4      with, as you can tell by Mr. Cunningham, they're able

  5      to hire good legal talent.

  6                THE COURT:     Okay.     All right.     Thank you.

  7                Mr. Cunningham, do you want to respond?

  8                MR. CUNNINGHAM:        Just on a couple of points,

  9      your Honor.

 10                First, we need to recognize that this was a

 11      substantial transaction between CVS and Mr. Brown.                  The

 12      value of those restricted stock units in CVS was nearly

 13      $100,000 with a CVS company stock in a Rhode Island

 14      company.     The fact that there isn't an exclusive venue

 15      provision in there, it doesn't have to be an exclusive

 16      venue provision in order for there to be personal

 17      jurisdiction.       The question is whether or not the

 18      purposeful availment, it's foreseeable that he could

 19      have to litigate a case in Rhode Island.

 20                And I believe the law backs this up, your Honor.

 21      If you enter into an agreement with a company that is

 22      domiciled in Rhode Island, that has a principal place

 23      of business in Rhode Island, if you go to visit them

 24      for leadership training in Rhode Island, if you accept

 25      a hundred-thousand dollars worth of their stock in
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  1      Rhode Island, and you understand that because on the

  2      cover page to the agreement it says as a condition of

  3      accepting your 2019 equity award, you are required to

  4      review and electronically sign this agreement and, by

  5      the way, it says, if you have any questions, call human

  6      resources.

  7                THE COURT:     The characterization of the question

  8      I think you were making is a bit of an

  9      oversimplification.         And I'd just read to you from what

 10      the case law says.        And I agree, it's voluntary and

 11      foreseeable, but the First Circuit has said it's akin

 12      to a rough quid pro quo; that is, when a defendant

 13      deliberately targets its behavior toward the society or

 14      the economy of a particular forum, the forum should

 15      have the power to subject the defendant to judgment

 16      regarding his behavior.

 17                And as I said in a prior -- well, maybe it

 18      wasn't me, another judge before my time on the

 19      court -- it's a decision by the defendant to inject

 20      himself into the local market.            So I agree with you

 21      that the circuit has talked about in Astro-Med the

 22      voluntary nature and the foreseeability, but there has

 23      to be some kind of a deliberate or a conscious

 24      initiative on the part of the defendant, it seems to

 25      me, to inject himself into the economy.
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  1                Now, what you've got here is the acceptance of

  2      money, both the equity payment and the paychecks, I

  3      grant you that, but that money's coming from Rhode

  4      Island.     So I'm not sure that qualifies as Mr. Brown

  5      injecting himself into the economy of Rhode Island.

  6      You have him coming to Rhode Island on that one

  7      occasion.      I think that, I would agree with you, is

  8      injecting himself into the market or the economy of

  9      Rhode Island.       He's in the state, he's physically in

 10      the state when he's here doing that, but his work, the

 11      actual work he's doing, is not injecting itself into

 12      the Rhode Island economy.

 13                So it's a pretty thin read.          I mean, I agree

 14      with you; it's foreseeable that sitting out there in

 15      Seattle, Mr. Brown might say, well, now -- after CVS

 16      acquires Aetna, he says, well, if I ever get sued by

 17      CVS, they'll probably sue me in Rhode Island.                I can

 18      grant you that much.         But I'm not sure where I see the

 19      sort of purposeful injection of him into the economy of

 20      the state.

 21                MR. CUNNINGHAM:       I think that's where the equity

 22      grant comes into play, your Honor.             He accepted a

 23      hundred-thousand dollars worth of equity in a company

 24      that's domiciled in Rhode Island and as a principal

 25      place of business in Rhode Island.             I think that
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  1      injects you into that economy.            It wasn't Aetna any

  2      longer.     And everyone knew it wasn't Aetna any longer.

  3      That transaction took place back in 2018.               So he

  4      agreed --

  5                THE COURT:     Okay.     So you're saying now that he

  6      is a stock owner of a Rhode Island corporation, he's

  7      become part of the economy of Rhode Island.

  8                MR. CUNNINGHAM:        Correct, your Honor.

  9                MR. McDOUGALD:      Your Honor, that's an argument

 10      that will put us all subject to personal jurisdiction

 11      wherever we own stock.

 12                THE COURT:     That's an extension of personal

 13      jurisdiction.       That's, you know, a serious question.

 14      Do you know of any case that holds that ownership of

 15      stock or accepting a stock option in a company by

 16      itself creates personal jurisdiction in that court, the

 17      court wherever that company is located?

 18                MR. CUNNINGHAM:        I'm not.    To be sure, we'll

 19      look, your Honor.        But I don't think those are the

 20      circumstances here.         This wasn't a day trader

 21      purchasing stock of a Cayman Islands company or a Texas

 22      company.     This was somebody whose company, Aetna, was

 23      acquired by CVS, and he was being offered stock in that

 24      new company in his ultimate employer because it's the

 25      holding company of Aetna.          He knew that, and he agreed
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  1      to enter into that transaction and to enter into the

  2      contract with CVS and agree that Rhode Island law would

  3      apply to that contract.

  4                That's much different than purchasing some

  5      stock, you know, in some random company that you have

  6      no other connection to.          I think it's completely

  7      different.

  8                THE COURT:     Okay.      All right.    Well, I thank you

  9      both for your arguments.          I'm going to try to get you a

 10      decision quickly on this jurisdictional issue so that

 11      we can, you know, march forward one way or the other.

 12                MR. McDOUGALD:      Understood, your Honor.

 13                MR. CUNNINGHAM:        Your Honor, I have to ask,

 14      because we are here on a TRO proceeding today, you

 15      know, we will be very concerned if we're leaving this

 16      hearing today without some kind of assurance that in

 17      the interim Mr. Brown isn't going to run to Cigna and

 18      start working there this evening.

 19                THE COURT:     Well, it's a good question.           I'm

 20      reluctant to give you any kind of an order if I haven't

 21      decided whether I have personal jurisdiction or not.

 22      And that's my hesitation.           But it's a good question for

 23      Mr. McDougald.

 24                MR. McDOUGALD:      No.     They have offered some, in

 25      our discussions, some limited ability for Mr. Brown to
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  1      work.     And I think at least in the interim that would

  2      be a start.      But it would have limits.          But I think the

  3      things we've been talking about will be sufficient so

  4      he's not going to go beyond what we've talked about.

  5      And I will get Mr. Cunningham's agreement before he

  6      walks in -- I guess, virtually walks into the office

  7      door.     But I would expect him to be able to do that in

  8      the next day or two.

  9                Mr. Cunningham, my goal would be to let him do

 10      the things we've talked about and not do the things

 11      you're most concerned about.             If we don't come to an

 12      agreement, then he won't do it, but my expectation is I

 13      think we had four categories we agreed on, two we had

 14      not.    I think we could be able to agree to those four

 15      categories to start and then wait for the Court's order

 16      and take the next step.

 17                MR. CUNNINGHAM:        Okay.     I'm not sure that we

 18      agreed on four, but I'm happy to discuss this.                What I

 19      heard is if we can't come to an agreement, at least in

 20      this very short time period, Mr. Brown wouldn't do

 21      something we haven't agreed to.             So that works for now

 22      so I appreciate it.

 23                MR. McDOUGALD:      Okay.

 24                THE COURT:     Okay.     Good.     All right.

 25                Well, thanks very much.           We'll let you go, and
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                                                                                39



  1      you'll hear from me soon.

  2                MR. CUNNINGHAM:       Thank you very much, your

  3      Honor.

  4                MR. McDOUGALD:      Thank you.

  5                THE COURT:     Thank you.

  6                (Time noted; 3:59 p.m.)

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  1                      I, Lisa Schwam, CRR-RPR-RMR, do hereby

  2      certify that the foregoing transcript is a correct

  3      transcript of a remote video conference prepared to the

  4      best of my skill, knowledge and ability of the

  5      proceedings in the above-entitled matter.

  6

  7      /S/ Lisa Schwam

  8      Lisa Schwam, CRR-RPR-RMR                      Date:
         Federal Official Reporter                     March 8, 2021
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